USCA4 Appeal: 25-1397     Doc: 21      Filed: 04/22/2025   Pg: 1 of 12



                                        No. 25-1397(L)
                                     ___________________

                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                                    _________________

                                    JEFFERSON GRIFFIN,
                                      Plaintiff – Appellee,

                                               v.

                                       ALLISON RIGGS,
                                     Intervenor – Appellant,

                                              and

                   NORTH CAROLINA STATE BOARD OF ELECTIONS,
                               Defendant – Appellee,

                                              and

         NORTH CAROLINA ALLIANCE FOR RETIRED AMERICANS; VOTEVETS
         ACTION FUND; TANYA WEBSTER-DURHAM; SARAH SMITH; JUANITA
                                ANDERSON,
                                 Intervenors.
                              _______________

                    On Appeal from the United States District Court for the
                  Eastern District of North Carolina, No. 5:24-cv-00731-M-RJ

                           REPLY IN SUPPORT OF
              MOTION FOR STAY AND INJUNCTION PENDING APPEAL

                          Relief Requested by Wednesday, April 23, 2025
USCA4 Appeal: 25-1397            Doc: 21              Filed: 04/22/2025           Pg: 2 of 12




                                                TABLE OF CONTENTS

        INTRODUCTION .....................................................................................................1
        ARGUMENT .............................................................................................................2
            I. This Court Has Appellate Jurisdiction ............................................................2
           II. Justice Riggs Is Likely to Prevail on the Merits ..............................................4
          III. The Premature Cure Process Will Harm Justice Riggs, the Voters, and
               Public Confidence in the Electoral Process .....................................................7
        CONCLUSION ..........................................................................................................9
        CERTIFICATE OF COMPLIANCE .......................................................................10




                                                                   i
USCA4 Appeal: 25-1397     Doc: 21         Filed: 04/22/2025    Pg: 3 of 12




              Justice Riggs files this reply in support of her Motion for Stay and Injunction

        Pending Appeal, ECF No. 5.

                                         INTRODUCTION
              As soon as Wednesday, April 23, 2025, the State Board will begin notifying

        voters of a state-law “cure” process that all parties agree should not go forward now.

              Justice Riggs and the State Board submit that it would be premature to begin

        that process before the federal-law issues have been resolved. As the State Board

        explains, “an injunction pending appeal is appropriate to halt a process ordered by

        the state courts that requires state government officials to violate their citizens’ fed-

        eral constitutional and statutory rights.” State Board Resp. at 3, ECF No. 19.

              Judge Griffin agrees that it would be premature for the State Board to begin

        the process now, but for a different reason. Judge Griffin is urging the North Caro-

        lina Court of Appeals to expand the list of targeted voters and to order the State

        Board “not to contact these voters and not to offer them an opportunity to cure.”

        E.D.N.C. ECF No. 76-1 at 19.

              Despite this consensus that the process is not ready to begin, the district

        court’s orders here mean that the State Board is poised to instruct county boards to

        begin sending out notices to voters. Regardless of whether those notices violate

        federal law (as Justice Riggs and the State Board believe) or North Carolina law (as

        Judge Griffin claims), it would be premature to send them out now.



                                                   1
USCA4 Appeal: 25-1397     Doc: 21        Filed: 04/22/2025    Pg: 4 of 12




               This Court should enter a stay and injunction pending appeal that maintains

        the status quo while this Court considers whether federal law permits retroactive,

        targeted disenfranchisement. Justice Riggs respectfully submits that it would be in-

        consistent with this Court’s mandate—and her England reservation of the federal

        issues in reliance on that mandate—to permit the state-law process to move forward

        now.

                                           ARGUMENT

           I. This Court Has Appellate Jurisdiction
               Judge Griffin is wrong to claim that this appeal arises from a temporary re-

        straining order. See Griffin Resp. at 3–6, ECF No. 18.

               Justice Riggs did not move for a restraining order. She filed an emergency

        motion for an injunction, see E.D.N.C. ECF No. 37, and she explained in her sup-

        porting brief why the district court should “enter a preliminary injunction under Rule

        65 and an injunction under the All Writs Act,” E.D.N.C. ECF No. 40 at 7 (emphasis

        added). Justice Riggs never mentioned a restraining order. There was nothing

        “vague about the relief she sought.” Griffin Resp. at 5.

               The district court understood when entering its April 12 text order that it was

        ruling on Justice Riggs’ “emergency motion for injunction and motion for status

        conference.” Text Order (Apr. 12, 2025) (emphasis added). The district court

        granted “the motion” only in part, id., and it did so without any suggestion that it



                                                  2
USCA4 Appeal: 25-1397      Doc: 21         Filed: 04/22/2025     Pg: 5 of 12




        would revisit that motion later. Indeed, the district court later clarified that it intends

        “to resolve Plaintiff Jefferson Griffin’s pending motions for injunctive relief as soon

        as practicable.” Text Order (Apr. 14, 2025) (emphasis added). That reference to

        Judge Griffin’s “pending motions” is to the three state-court Motions for Temporary

        Restraining Order and Preliminary Injunction that Judge Griffin filed in December

        2024 before the State Board removed the action to this Court. See E.D.N.C. ECF

        Nos. 1-5, 1-9, 1-13.

               The district court gave no similar indication that it viewed Justice Riggs’

        Emergency Motion for Injunction and Motion for Status Conference as unresolved.

        To the contrary, the district court’s April 12 text order was clear that it was “grant-

        ing” in part (and “refusing” in part) Justice Riggs’ motion for an “injunction[].” 28

        U.S.C. § 1292(a)(1). Justice Riggs’ timely notice of appeal from that text order con-

        ferred jurisdiction on this Court and divested the district court of its control over

        those aspects of the case involved in the appeal. See Griggs v. Provident Consumer

        Disc. Co., 459 U.S. 56, 58 (1982).

               Once this Court gained jurisdiction, the district court had no authority to mod-

        ify its April 12 text order to eliminate this Court’s jurisdiction. See, e.g., Lewis v.

        Tobacco Workers’ Int’l Union, 577 F.2d 1135, 1139 (4th Cir. 1978) (“a district court

        loses jurisdiction to amend or vacate its order after the notice of appeal has been

        filed”); see also New Horizon of NY LLC v. Jacobs, 231 F.3d 143, 153 n.20 (4th Cir.


                                                    3
USCA4 Appeal: 25-1397     Doc: 21        Filed: 04/22/2025    Pg: 6 of 12




        2000). It is thus immaterial whether the district court could have entered “a non-

        appealable temporary restraining order.” Griffin Resp. at 1. The district court en-

        tered a text order granting and refusing an injunction, Justice Riggs appealed, and

        this Court has jurisdiction under § 1292(a)(1).

          II. Justice Riggs Is Likely to Prevail on the Merits

               Judge Griffin’s arguments on the merits fail to grapple with three key features

        of this case.

               First, he ignores this Court’s mandate and the England reservations that Jus-

        tice Riggs and the State Board filed. This Court already decided that the federal

        courts would retain jurisdiction over the federal issues. And the North Carolina

        courts rejected Judge Griffin’s efforts to get them to resolve those federal issues

        anyway. Accordingly, no one is “invit[ing] this Court to grade the papers of state

        courts” or to “review[] a state supreme court election decision.” Griffin Resp. at 9,

        12. The state courts resolved questions of state law, and the case now returns to

        federal court for resolution of the remaining federal issues. The state-law remedy

        should not go into effect before the federal courts have resolved those federal issues.

               Second, Judge Griffin cannot deny that the rules he challenged went into ef-

        fect long before the November 2024 election. If he had legitimate grievances with

        those rules, he had a “duty” to bring his complaints “forward for pre-election adju-

        dication.” Hendon v. N.C. State Bd. of Elections, 710 F.2d 177, 182 (4th Cir. 1983).



                                                  4
USCA4 Appeal: 25-1397     Doc: 21        Filed: 04/22/2025     Pg: 7 of 12




        This duty prevents losing candidates from doing what Judge Griffin did here: “lay

        by and gamble upon receiving a favorable decision of the electorate and then, upon

        losing, seek to undo the ballot results in a court action.” Id. (quoting Toney v. White,

        488 F.2d 310, 314 (5th Cir. 1973)).

              While Judge Griffin attempts to minimize the significance of his election pro-

        tests, it “is no small thing to overturn the results of an election in a democracy by

        throwing out ballots that were legally cast consistent with all election laws in effect

        on the day of the election.” Griffin v. N.C. State Bd. of Elections, No. 320P24-3,

        2025 WL 1090903, at *3 (N.C. Apr. 11, 2025) (Earls, J., concurring in part and

        dissenting in part). Retroactive, mass disenfranchisement cannot be fairly charac-

        terized as a “garden variety” election issue. Griffin Resp. at 11–12.

              Justice Riggs is not seeking relief here because of a “failure to divide the bal-

        lots into parallel columns separated by distinct black lines,” Hendon, 710 F.2d at

        182, a “voting machine malfunction,” Shannon v. Jacobowitz, 394 F.3d 90, 96 (2d

        Cir. 2005), or any other “garden variety election irregularities,” Griffin v. Burns, 570

        F.2d 1065, 1076 (1st Cir. 1978). Justice Riggs requests a stay and injunction pending

        appeal under the “settled” principle that “the due process clause may be violated”

        when an “election process reaches the point of ‘patent and fundamental unfairness.’”

        Hendon, 710 F.2d at 182 (quoting Burns, 570 F.2d at 1077). The facts here “go well

        beyond the ordinary dispute over the counting and marking of ballots,” Burns, 570


                                                   5
USCA4 Appeal: 25-1397     Doc: 21        Filed: 04/22/2025     Pg: 8 of 12




        F.2d at 1077, and the federal issues remain even after the North Carolina courts con-

        strued the applicable North Carolina law.

              Judge Griffin urges this Court to ignore those federal issues on the theory that

        “only ‘massive’ disenfranchisement” justifies federal relief. Griffin Resp. at 12

        (quoting Bennett v. Yoshina, 140 F.3d 1218, 1226 (9th Cir. 1998)). This argument

        gets the law wrong: “whether the number is thirty or thirty-thousand,” the “injury to

        these voters is real and completely irreparable if nothing is done to enjoin” the fed-

        eral constitutional violations here. League of Women Voters of N.C. v. North

        Carolina, 769 F.3d 224, 247 (4th Cir. 2014). But even if Judge Griffin were right

        that only “massive” disenfranchisement violates the Constitution, that argument

        would still be no help to him. The Bennett court used the word “massive” to describe

        the “ex post disenfranchisement that the Rhode Island Supreme Court’s ruling cre-

        ated” in Burns. Bennett, 140 F.3d at 1226. That ruling affected “123 absentee and

        shut-in voters.” Burns, 570 F.2d at 1079. Judge Griffin’s challenges here are orders

        of magnitude larger, affecting at least 1,675 voters. See State Board Resp. at 4–5.

              Third, Judge Griffin has no explanation for why the Equal Protection Clause

        would permit his selective targeting of military and overseas voters. He cannot deny

        that the “Fourteenth Amendment requires that each qualified voter must be given an

        equal opportunity to participate in [a state] election.” Hadley v. Junior Coll. Dist. of

        Metro. Kansas City, Mo., 397 U.S. 50, 56 (1970). Yet Judge Griffin targeted voters


                                                   6
USCA4 Appeal: 25-1397     Doc: 21        Filed: 04/22/2025   Pg: 9 of 12




        in, at most, six counties for an unprecedented cure effort conducted nearly half-a-

        year after the election. While Judge Griffin has never explained why he selected

        those six counties, he appears to have targeted military and overseas voters who

        registered in counties that supported Justice Riggs by a wide margin in the Novem-

        ber 2024 election. This selection suggests the “worrisome” possibility that Judge

        Griffin is seeking “to pick and choose among groups of similarly situated voters to

        dole out special voting [burdens].” Obama for Am. v. Husted, 697 F.3d 423, 435

        (6th Cir. 2012). That “later arbitrary and disparate treatment” values “one person’s

        vote over that of another” and thus violates the Equal Protection Clause. Bush v.

        Gore, 531 U.S. 98, 104–05 (2000) (per curiam). There is no version of Judge Grif-

        fin’s state-law arguments that would eliminate this federal equal protection

        violation.

         III. The Premature Cure Process Will Harm Justice Riggs, the Voters, and
              Public Confidence in the Electoral Process

              The state-law cure process should be stayed because “[c]ount first, and rule

        upon legality afterwards, is not a recipe for producing election results that have the

        public acceptance democratic stability requires.” Bush v. Gore, 531 U.S. 1046, 1047

        (2000) (mem.) (Scalia, J., concurring).

              Without an injunction pending appeal, the State Board will soon instruct

        county boards to notify challenged voters that “their vote cast in the 2024 general

        election for North Carolina Supreme Court Associate Justice will only count if,


                                                  7
USCA4 Appeal: 25-1397     Doc: 21        Filed: 04/22/2025    Pg: 10 of 12




        within thirty days of the date that the mailing referenced above was sent, these voters

        submit a copied photo ID or exception form.” E.D.N.C. ECF No. 61 at 6; see also

        id. at 5. The State Board will send these notices out while Judge Griffin is still

        seeking to prevent these voters from hearing about his challenges to their votes and

        from having an opportunity to cure. See E.D.N.C. ECF No. 76-1. And because the

        federal-law issues remain unresolved, the notices will “inform the voter that this

        litigation is ongoing and the voter’s obligations are subject to change.” E.D.N.C.

        ECF No. 61 at 6; see also id. at 5. Voters will thus receive notice from their State

        Board of Elections informing them that their votes may or may not be threatened

        and instructing them to proceed with a cure process that may or may not be neces-

        sary.

                These notices will lead to widespread confusion and mistrust. At the very

        least, they will raise the specter of injury to “fundamental voting rights,” which

        courts routinely deem “irreparable.” League of Women Voters, 769 F.3d at 247.

        These notices will also “threaten irreparable harm” to Justice Riggs and the North

        Carolina voters “by casting a cloud upon” the legitimacy of her election. Bush, 531

        U.S. at 1047 (Scalia, J., concurring).

                The Court should prevent those harms by granting Justice Riggs’ motion for

        a stay and injunction pending appeal. When a state changes the election rules “dur-

        ing an ongoing election”—or, worse, after an election—only “an injunction pending


                                                  8
USCA4 Appeal: 25-1397    Doc: 21        Filed: 04/22/2025    Pg: 11 of 12




        appeal can ‘alleviate that ongoing harm.’” Wise v. Circosta, 978 F.3d 93, 111 (4th

        Cir. 2020) (Wilkinson, J., dissenting from order denying injunction pending appeal)

        (quoting John Doe Co. v. Consumer Fin. Prot. Bureau, 849 F.3d 1129, 1137 (D.C.

        Cir. 2017)).

                                         CONCLUSION

              The Court should enter a stay and injunction pending appeal that prohibits the

        parties from taking any action to enforce or effectuate the state-law remedy.

              Dated: April 22, 2025            Respectfully submitted,

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                                                 9
USCA4 Appeal: 25-1397    Doc: 21        Filed: 04/22/2025   Pg: 12 of 12




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              Dated: April 22, 2025                  /s/ Samuel B. Hartzell
                                                     Samuel B. Hartzell

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                                                10
